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                              UNITED STATES DISTRICT COURT FOR THE
                               NORTHERN DISTRICT OF OKLAHOMA
    STATE OF OKLAHOMA, et al.,
                                            Plaintiffs,
       v.                                                      No. 4:05-cv-329-GKF-SH
    TYSON FOODS, INC., et al.,
                                          Defendants.

                     JOINT PROPOSED AGENDA FOR SEPTEMBER 13, 2024
                           STATUS/SCHEDULING CONFERENCE


            Pursuant to this Court’s Order of July 18, 2024, the parties submit for the Court’s review the

   following joint proposed agenda for the Status/Scheduling Conference scheduled for September 13,

   2024 at 1:30 p.m.:

            1.     Discuss Process for Entry of Judgment

            2.     Motions

            3.     Scheduling of the Next Status Conference
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                                             Respectfully Submitted,

                                               s/ Jennifer L. Lewis
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                                             __/s/: Gordon D. Todd (by Permission)___
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                                             On Behalf of the Defendants,
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                                             Tyson Poultry, Inc.,
                                             Tyson Chicken, Inc.,
                                             Cobb-Vantress, Inc.,

                                             _/s/: Robert George (by Permission)_
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                                             On Behalf of the Defendants, George’s, Inc.
                                             and George’s Farms, Inc.




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                                             On Behalf of the Defendant, Cal-Maine Foods


                                             __/s/: John R. Elrod (by Permission)__
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                                             On Behalf of Defendant, Simmons Foods, Inc.




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                                             On Behalf of Defendants, Cargill, Inc. and
                                             Cargill Turkey Production, LLC

                                             __/s/ A. Scott McDaniel_(by Permission)_
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                                             On Behalf of Defendant, Peterson Farms, Inc.




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 30th day of August, 2024, I electronically transmitted the

   foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a

   Notice of Electronic Filing to the ECF registrants with entries of appearance filed of record.



                                                                   s/ Jennifer L. Lewis
                                                                  Jennifer L. Lewis




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